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         EXHIBIT A
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                                      Exhibit A Summary



Plaintiff: Diamond Painting International Inc.

Address: 625 West Deer Street, Glenrock, WY 82637



Plaintiff’s Diamond Painting Trademark (diamond painting®, Registration Number 6,980,948 in

International Class 28) is owned by the Plaintiff by virtue of an assignment. A copy of the United

States Patent and Trademark Office (PTO) Trademark Registration Certificate, the assignment

cover sheet and the assignment agreement, as recorded in the PTO, are attached hereto.
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Reg. No. 6,980,948           Ye Tuming (CHINA INDIVIDUAL)
                             No.39, Yedong Village
Registered Feb. 14, 2023     Longtou Town, Potou District
Int. Cl.: 28                 Zhanjiang, CHINA 524057

                             CLASS 28: Puzzles; amusement park rides; children's educational toys for developing
Trademark                    fine motor, cognitive, counting skills; dolls and playsets therefor; infant toys; inflatable
Principal Register           pool toys; pet toys; plush toys; PVC toy figures; toy building blocks; toy mobiles; toy
                             telescopes

                             FIRST USE 11-22-2022; IN COMMERCE 11-22-2022

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                             ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                             SER. NO. 90-162,895, FILED 09-07-2020
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
      years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
      for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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